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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

 DISH NETWORK L.L.C., AL JAZEERA              )       Case No. 1:15-cv-00706-TSE-IDD
 MEDIA NETWORK, ASIA TV USA                   )
 LTD., B4U U.S., INC., GEO USA LLC,           )
 IMPRESS TELEFILM, INC., MBC FZ               )
 LLC, MSM ASIA LTD., SOUNDVIEW                )
 BROADCASTING LLC, SOUNDVIEW                  )
 ATN LLC, STAR INDIA PRIVATE LTD.,            )
 and VIACOM18 MEDIA PRIVATE                   )
 LIMITED,                                     )
                                              )
               Plaintiffs,                    )
                                              )
 v.                                           )
                                              )
 SHAVA IPTV NETWORK LLC,                      )
 NADEEM BUTT, IMRAN BUTT, and                 )
 NAEEM BUTT, individually and together        )
 d/b/a Shava TV, Cres IPTV, Iraa Enterprises, )
 and Maple Electronics,                       )
                                              )
               Defendants.                    )
                                                                                      /

             PLAINTIFF DISH NETWORK L.L.C.’S BRIEF IN SUPPORT OF
                     MOTION TO AMEND CONTEMPT ORDER
        1.      Defendants have circumvented the relief set forth in the February 22, 2018 Order

 (“Order”) granting DISH’s motion for contempt by using another domain and registering backup

 domains to continue selling and supporting their copyright infringing service in violation of the

 Order and permanent injunction.

        2.      The Order enjoined the distribution, sale, and promotion of Shava TV set-top boxes

 and services. (Doc. 138 at 2.) Defendants were using the Shavatv.com domain for the sale and

 support of their Shava TV set-top boxes and services. (Doc. 136, Mag. Rep.at 6.) The Order

 instructed the registries and registrars of Shavatv.com, including VeriSign, to transfer the domain

 name to DISH. (Doc. 138 at 2.)
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         3.      Shavatv.com has been disabled, but has not been fully transferred to DISH, because

 VeriSign refused to do so without specific language in a court order and the registrar OnlineNIC,

 Inc. will not approve the transfer. (See Ferguson Decl. ¶ 2, Exs.1-2.)

         4.      Defendants are now using the Shava-tv.com domain for the distribution, sale, and

 promotion of Shava TV set-top boxes and services. (Id. ¶ 3, Ex. 3.) Defendants have also

 registered backup domains including Shavagold.com, Shavagoldtv.com, Shavamx.com, S-

 mxtv.com, Tvshava.com, apparently anticipating further court orders transferring their domains.

 (Id. ¶ 4, Ex. 4.)

         5.        DISH requests that the Court amend its Order granting DISH’s motion for contempt

 to add Defendants’ additional domains and include the specific language that VeriSign requires to

 transfer the domains to DISH.

         6.        Specifically, DISH asks the Court to enter an order stating:

         It is further ORDERED that VeriSign, Inc., OnlineNIC, Inc., and any relevant

         registries and registrars holding or listing the domain names Shavatv.com, Shava-

         tv.com,      Shavagold.com,      Shavagoldtv.com,     Shavamx.com,        S-mxtv.com,

         Tvshava.com, and any other domain names now or hereafter used by Defendants

         to distribute, sell, or promote Shava TV set-top boxes or services, upon receiving

         actual notice of this Order, shall (i) temporarily disable the domain names through

         a registry hold or otherwise, and make them inactive and non-transferable; and (ii)

         transfer these domain names to plaintiff DISH Network L.L.C., including changing

         the registrar of record to the registrar selected by plaintiff at plaintiff’s reasonable

         expense and reenabling the domains so that plaintiff may fully control and use the

         domain names.




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 Dated: April 14, 2018
                                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 16, 2018 a true and correct copy of Plaintiff DISH Network
 L.L.C.’s Brief in Support of Motion to Amend Contempt Order was placed in a sealed envelope
 with postage thereon fully prepaid and deposited in the United States mail, first class, to the
 following non-CM/ECF participants:

        Defendant Nadeem Butt
        Defendant Shava IPTV Network LLC
        15260 Lord Culpeper Court
        Woodbridge, Virginia 22191

        Defendant Imran Butt
        52 West Park Avenue
        Bradford, Ontario, L3Z 0A4
        Canada

        Defendant Naeem Butt
        16 Peridot Road
        Brampton, Ontario, L6P 0Z5
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